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                                UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNIA
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12   DONALD WILLIS AND VIOLA                     )   Case No.: 12cv744 BTM (DHB)
     WILLIS                                      )
13                                               )   ORDER DENYING DEFENDANT
14                Plaintiffs,                    )   JOHN CRANE’S MOTION FOR
                                                 )   RECONSIDERATION
15         v.                                    )
16                                               )
     BUFFALO PUMPS INC., et al.                  )
17                                               )
18                Defendants.                    )
19
20         Defendant John Crane, Inc. (“John Crane”) has filed a motion for
21   reconsideration of this Court’s order denying John Crane’s motion for summary
22   judgment. (Doc. 360). For the following reasons, the motion for reconsideration is
23   DENIED.
24         “Reconsideration is appropriate if the district court (1) is presented with newly
25   discovered evidence, (2) committed clear error or the initial decision was manifestly
26   unjust, or (3) if there is an intervening change in controlling law.” Sch. Dist. No. 1J,
27   Multnomah Cnty. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). A party's
28   failure to file documents in connection with the underlying motion or opposition does
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 1   not turn late-filed documents into “newly discovered evidence.” Id. “Evidence is not
 2   ‘newly discovered” under the Federal Rules if it . . . could have been discovered with
 3   reasonable diligence.” Coastal Transfer Co. v. Toyota Motor Sales, U.S.A., 833 F.3d
 4   208, 212 (9th Cir. 1987) (citations omitted). Furthermore, “the newly discovered
 5   evidence must be of such magnitude that production of it earlier would have been
 6   likely to change the disposition of the case.” Id. at 211.
 7         Defendant argues that it has located new evidence that another defendant in
 8   this case, Crane Co., produced gasket material that was branded “Crane,” and thus
 9   Plaintiff’s identification that he was working with “Crane” products could plausibly
10   mean he worked with either of Defendants’ products. Therefore, he cannot prove
11   threshold exposure to John Crane’s products by a preponderance of the evidence.
12         Defendant’s new evidence is a series of images from a Crane Co. catalog
13   published in 1960 (Doc. 360-5, Russell Decl. Exhibit C), and images from an
14   unknown source culled from another asbestos-related product liability action in
15   California Superior Court, Schildknegt v. Air & Liquid Sys. Corp., Case No. BC
16   503723. (Doc. 360-6, Russell Decl. Exhibit D). The exhibits appear to depict gasket
17   material that is branded both “Cranite” and “Crane,” or “Crane Co.”
18         Defendant has failed to explain why it could not have discovered this evidence
19   with reasonable diligence and produced it in support of its motion for summary
20   judgment. Notably, Defendant filed their motion for summary judgment fifty-three
21   years after Exhibit C was published in 1960. Moreover, even if the evidence could
22   not have been discovered with due diligence before Defendant filed their motion for
23   summary judgment, the Court nonetheless finds that it does not change the outcome
24   of Defendant’s motion for the reasons outlined in the Court’s denial of Defendant’s
25   motion. (Doc. 356). Furthermore, Defendant has failed to advance any evidence that
26   Crane Co. supplied the gaskets depicted in the exhibits to the U.S. Navy during the
27   relevant period. The fact that Crane Co. manufactured such gaskets at some point in
28   its history, standing alone, does not meaningfully impact the Court’s analysis.
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 1         Accordingly, the evidence is not “newly discovered” and does not warrant
 2   reconsideration of the Court’s order denying Defendant’s motion for summary
 3   judgment.
 4         Therefore, John Crane’s motion for reconsideration is DENIED.
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 6   IT IS SO ORDERED.

 7   Dated: August 18, 2014               ______________________________________
 8                                           BARRY TED MOSKOWITZ, Chief Judge
                                                          United States District Court
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